Case 3:17-cv-00072-NKM-JCH Document 457-26 Filed 04/03/19 Page 1 of 3 Pageid#:
                                   4363




       EXHIBIT 26
Case 3:17-cv-00072-NKM-JCH Document 457-26 Filed 04/03/19 Page 2 of 3 Pageid#:
                                   4364



                   IN THE UNITED STATES DISTRICT COURT

                  FOR THE WESTERN DISTRICT OF VIRGINIA

                         CHARLOTTESVILLE DIVISION



   ELIZABETH SINES, et al.,            )
                                       )
                  Plaintiffs,          )   Civil Case No. 3:17-CV-00072
                                       )
   vs.                                 )
                                       )
   JASON KESSLER, et al.,              )
                                       )
                  Defendants.          )

   ____________________________________________________________

                   TRANSCRIPT OF TELEPHONIC HEARING
         HONORABLE MAGISTRATE JUDGE JOEL C. HOPPE PRESIDING
                  MONDAY, MARCH 18, 2019, 4:08 P.M.
   ____________________________________________________________




   Court Reporter:             Judy K. Webb, RPR
                               210 Franklin Road, S.W., Room 540
                               Roanoke, Virginia 24011
                               (540)857-5100 Ext. 5333


                Proceedings recorded FTR and transcribed using
   Computer-Aided Transcription
Case 3:17-cv-00072-NKM-JCH Document 457-26 Filed 04/03/19 Page 3 of 3 Pageid#:
                                   4365                               14
          Sines, et al. v. Kessler, et al. - 3/18/19

1             MR. KOLENICH:    Vanguard is a problem.      Vanguard has

2    not turned over the devices they were supposed to turn over

3    and is not listening to counsel on the necessity of hurrying

4    up and providing this stuff, so I really don't have anything

5    to say in regard to them other than it might be useful for the

6    Court to give them sort of a warning shot that, you know,

7    you're not kidding, sanctions possible in this circumstance,

8    and give them one last chance to comply.

9             The situation with Vanguard is they really don't

10   exist anymore in any kind of a real sense.       Obviously, they're

11   in litigation and their officers are hanging on, trying to do

12   their job in defending, but they don't want to be involved.

13   And if their officers decide to just hang it up and leave the

14   organization, I don't know who takes over at that point.

15   There is a likely suspect.

16            But the current guy who I've been dealing with is

17   kind of frustrated with it all and doesn't want to deal with

18   it.   So I think if the Court could send, you know, some

19   sort of -- some sort of warning before actually imposing

20   sanctions or making us go through motion practice, with

21   Vanguard that might be useful to at least bring this to a

22   conclusion that either he is or is not going to cooperate.

23            THE COURT:   All right.    All right.    Well, you know, I

24   have -- I have issued an order directing that the devices and

25   account information be provided, and if it's -- and if you all
